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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     )
                                             )
               v.                            )
                                             )              Case No. 21-cr-41-CJN-5
BRADLEY RUSKTALES,                           )
                                             )
               Defendant.                    )


                                         ORDER

       Upon consideration of the Defendant’s Unopposed Motion to Extend Bureau of Prisons

Reporting Date, and the representations in the Defendant’s motion, it is hereby,

        ORDERED, that Defendant’s Unopposed Motion is GRANTED; and it is hereby,

 FURTHER ORDERED, that Bradley Rukstales shall report to FCI Milan located at 4004

 East Arkona Road, Milan, MI, no later than 2:00pm on February 1, 2022.




 January 3, 2022
_________________
DATE                                         CARL
                                              ARL J.
                                                  J. NICHOLS
                                                     NICHOLS
                                             United States District Judge
